  Case 25-10088-T Document 123 Filed in USBC ND/OK on 06/11/25 Page 1 of 3



                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

IN RE:                                       )
                                             )
GREEN COPPER HOLDINGS, LLC                   )      CASE NO. 25-10088-T
EIN # xx-xxx9708                             )      Chapter 7
                                             )
COPPER TREE, INC.                            )      Substantively Consolidated
EIN # xx-xxx6608                             )
                                             )
                      Debtors.               )

TRUSTEE’S OBJECTION TO CLAIM 6-1 FILED HEREIN BY TEN-X LLC (“TEN-X”)
             AND NOTICE OF OPPORTUNITY FOR HEARING

Comes now the Trustee and states:

   1. Ten-X filed the refenced claim for an unknown amount.


   2. The claim appears to be based on a contract entered into prior to bankruptcy. As of the date

       of bankruptcy, the contract was an executory contract that the Trustee did not assume

       within 60 days of the commencement of these proceedings and was, therefore, deemed

       rejected pursuant to 11 U.S.C. § 365(d).


   3. The claim additionally seems to be related to the marketing and selling of the real estate

       referred to herein as the “Price Tower.” At no time subsequent to the commencement of

       these proceedings did the Trustee employ Ten-X pursuant to any order of this Court and,

       in fact, Ten-X provided no services to this estate post-bankruptcy.


   4. One of the documents attached to the claims provides that Ten-X was entitled to

       compensation in the event the Debtor sold the property within a certain time period to a

       “Ten-X Buyer.” The Trustee sold the subject property post-petition and pursuant to an
  Case 25-10088-T Document 123 Filed in USBC ND/OK on 06/11/25 Page 2 of 3




       order of this Court to McFarlin Building LLC (“McFarlin”). McFarlin was not a “Ten-X

       Buyer.”


   5. Based on the applicable facts and bankruptcy law, Ten-X is not entitled to any claim against

       the estate.


   6. The Trustee intends to seek an order of the Court denying the claim filed by Ten-X unless

       Ten-X responds within 33 days of the filing of this objection.


NOTICE OF OPPORTUNITY FOR HEARING - Your rights may be affected. You should

read this document carefully and consult your attorney about your rights and the effect of

this document. If you do not want the Court to grant the requested relief, or you wish to have

your views considered, you must file a written response or objection to the requested relief

with the Clerk of the United States Bankruptcy Court for the Northern District of Oklahoma,

224 South Boulder, Tulsa, Oklahoma 74103 no later than 33 days from the date of filing of

this request for relief. You should also serve a file-stamped copy of your response or

objection to the undersigned movant/movant’s attorney [and others who are required to be

served] and file a certificate of service with the Court. If no response or objection is timely

filed, the Court may grant the requested relief without a hearing or further notice. The 33-

day period includes the three (3) days allowed for mailing provided for in Fed. R. Bankr. P.

9006(f).


       Respectfully Submitted by:                   /s/ Patrick J. Malloy III
                                                    Patrick J. Malloy III, OBA #5647
                                                    MALLOY LAW FIRM, P.C.
                                                    401 S. Boston Ave. Suite 500
                                                    Tulsa, Oklahoma 74103
                                                    Telephone:      918-699-0345
Case 25-10088-T Document 123 Filed in USBC ND/OK on 06/11/25 Page 3 of 3




                                      Fax:       918-699-0325
                                      ATTORNEYS FOR TRUSTEE
